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December 31, 2020

Honorable Richard M. Berman
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007-1312

Re: United States v. Usher et al., 17 Cr. 19 (RMB)

Dear Judge Berman:

        We respectfully write in connection with our request for clarification as to whether the
Court’s order of December 21, 2020 applies to exhibits admitted at trial, and to address the
authorities cited by the DOJ in its letter of yesterday. As discussed below, the cases relied upon
by DOJ underscore the law and practice in this Circuit that exhibits admitted at trial are publicly
available absent extraordinary circumstances that do not exist here. Moreover, we understand
that the DOJ’s position on this issue—that exhibits admitted in an open criminal trial with no
application by the government or third party to seal or limit their public disclosure before,
during, or in the two years after the trial are nevertheless nonpublic documents—is squarely
inconsistent with the longstanding practice of the U.S. Attorney’s Office in this District.

        United States v. Amodeo (Gov’t Ltr at 2) held that an unfiled investigative report
prepared by a court officer pursuant to a consent decree carried a “weak” presumption of public
access because it “bears only a marginal relationship to the performance of Article III functions,”
and that this presumption was outweighed by the court officer’s concerns that releasing the
report would impair her ability to do her job by revealing her “access to confidential informants
helpful to her monitoring of the consent decree.” 71 F.3d 1044, 1048 (2d Cir. 1995). In stark
contrast, the Amodeo Court explained, the Second Circuit has “consistently held that the public
has an ‘especially strong’ right of access to evidence introduced in trials,” requiring
“extraordinary circumstances to justify restrictions,” given “the role those documents played in
determining litigants’ substantive rights—conduct at the heart of Article III.” Id. at 1048-49.
This “especially strong” presumption—not the “weak” one applied in Amodeo—exists here. Id.

         Mirlis v. Greer (Gov’t Ltr at 2) presents just such an “extraordinary circumstance” that
can overcome the “especially strong” right of public access to trial exhibits. The trial exhibit at
issue there was a non-party witness’s “video-recorded deposition lasting several hours in which
he testified in detail to having also been a victim of [a school leader’s] sexual abuse several
decades earlier, when [the witness] was a minor and a student at the school.” 952 F.3d 51, 54.
The party seeking access to this exhibit “had written voluminously on his [internet] blog about
the trial and disparagingly about both [the victim] and [the school leader],” and had “informed
the court that he sought to copy the video so that he could post it publicly to his internet blog.”
Id. at 55. On these facts, the court found that while “the public is due a strong presumptive right
of access” to trial exhibits that “is not easily overcome,” the applicant’s “motives in obtaining,
and intent in releasing, the video” and the witness’s “countervailing privacy interests as a minor




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victim of sexual abuse perpetrated by a trusted religious figure in the community” outweighed
this presumption. Id. at 67. These facts do not remotely resemble the dispute here.

         And SEC v. Telegram Group Inc. and Encyclopedia Brown Productions Ltd v. Home Box
Office Inc. (Gov’t Ltr at 2) involved motions to seal documents—a very different posture than
the instant dispute. In Telegram Group, while the court partially granted the motion, it declined
to seal documents where the parties whose privacy interests were ostensibly at stake did not
intervene in the case to seek such a seal, and further declined to seal business information that
“does not represent unique analytical insight or information about the non-party’s business
operations that would advantage a competitor or rival.” 2020 WL 3264264, at *6 (S.D.N.Y.
June 17, 2020); see also Littlejohn v. BIC Corp., 851 F.2d 673, 679 (3d Cir. 1988) (it is “well
established that the release of information in open court ‘is a publication of that information and,
if no effort is made to limit its disclosure, operates as a waiver of any rights a party had to restrict
its future use.’”). In Encyclopedia Brown, the court sealed certain records, including “documents
expected to be offered as evidence at trial,” because they contained “trade secrets” and the
“defendants would suffer irreparable harm from [the] disclosure of the confidential information.”
26 F.Supp.2d 606, 614 (S.D.N.Y. 1998). Here, neither the DOJ nor the banks that originally
produced the documents (many of which had counsel present at trial) moved to seal the exhibits
or related testimony before, during, or in the two years since they were published in open court at
trial.

        The DOJ’s claim that Mr. Ramchandani “has put nothing on the scale” inverts the
relevant standard. It is the DOJ, not Mr. Ramchandani, that must overcome the “especially
strong” presumption in favor of access by articulating “extraordinary circumstances” that justify
the suppression of otherwise public documents, which it has not done. Amodeo, 71 F.3d at 1048.
The DOJ’s argument also disregards the numerous letters with authority Mr. Ramchandani has
filed over the last several months explaining his need for the very documents that led to his
acquittal in order to defend himself in a second enforcement action by the U.S. government
based on the same allegations. And it ignores the fact that the only party with which Mr.
Ramchandani seeks to use the trial exhibits—the OCC—has extensive supervisory power over
the banks it regulates, meaning that the OCC has access to this very type of information, vitiating
any alleged privacy concerns over customer names (the one example identified by the DOJ) or
any other purportedly sensitive information.

        The DOJ’s position would also lead to absurd results. In the DOJ’s view, whether the
government chooses to publish an exhibit to the jury and the public is determinative of whether
the public can thereafter access it. If that were the case, the government could evade public
scrutiny of vast swaths of its evidence simply by choosing not to publish it, giving it to the jury
for deliberations, and then immediately retrieving it after a verdict. This cannot be squared with
the “especially strong” presumption recognized in Amodeo of the public’s right to access trial
exhibits.

       Finally, the DOJ’s assertion that Mr. Ramchandani’s application should be denied
because of “unclean hands” merely recycles arguments addressed at our last conference on
November 5, and ignores the good faith attempts by counsel to resolve through this motion the
ambiguity in the Protective Order arising from Paragraph 6’s authorization to use documents
before other U.S. agencies. In any event, the DOJ’s assertion is irrelevant to whether Mr.


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Ramchandani should have access to presumptively public evidence, admitted against him at trial,
for a subsequent prosecution for the same conduct by another government agency.

         Accordingly, consistent with the “especially strong right of access to evidence introduced
in trials” in this Circuit, we respectfully seek clarification that the Court’s order of December 21,
2020 does not apply to the specific exhibits admitted at trial.



Respectfully submitted,

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